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                                                                                                                                                  In re: The Commonwealth of Puerto Rico, et al.
                                                                                                                                                                Master Service List
                                                                                                                                                              Case No. 17-03283 (LTS)



                           DESCRIPTION                                           NAME                           NOTICE NAME                      ADDRESS 1                     ADDRESS 2                 CITY        STATE      POSTAL CODE   COUNTRY      PHONE          FAX       EMAIL
Defendant in Adversary Proceeding 19-00296                           Alan Friedman                                                      124 Lander Ave.                                         Staten Island   NY           10314
Federal Agency                                                       AmeriCorps                      Attn: Sonali Nijhawan              1201 New York Ave., NW                                  Washington      DC           20525
Antilles Power Depot, Inc.                                           Antilles Power Depot, Inc.      Attn: Raymond Texidor              PO Box 810190                                           Carolina        PR           00981-0190
                                                                                                                                        Popular Fiduciary Services,
                                                                     Banco Popular de Puerto Rico,                                      Popular Center North             #209 Munoz Rivera,
Defendant in Adversary Proceeding 19-00296                           as Trustee                                                         Building                         Ave, 2nd Level         Hato Rey        PR           00918
                                                                     Bank of New York Mellon as
                                                                     PRIFA Indenture Trustee
                                                                     Pursuant to the Trust
                                                                     Agreement Dated as of March
Defendant in Adversary Proceeding 19-00296                           1, 2015                                                            225 Fifth Ave, Suite 1200                               Pittsburgh      PA           15222
                                                                     Candlewood Investment Group,                                       555 Theodore Fremd
Defendant in Adversary Proceeding 19-00296                           LP                                                                 Avenue, Suite C-303                                     Rye             NY           10580
                                                                     Chambers of Honorable Laura Daniel Patrick Moynihan                                                 500 Pearl St., Suite
United States District Court for the District of Puerto Rico         Taylor Swain                  Courthouse                           United States District Court     3212                   New York        NY           10007-1312
Intervenor in Adversary Proceeding 17-00250                          Cohen, Weiss and Simon LLP    Attn: Hiram M. Arnaud                900 Third Ave                    21st Floor             New York        NY           10022                      212-356-0205 646-473-8205

Defendant in Adversary Proceeding 19-00296                           Cooperativa De A/C Aibonitena                                      100 Calle Jose C. Vazquez                               Aibonito        PR           00705
                                                                     Cooperativa De Ahorro Y       Attn: Enrique M. Almeida Bernal,
Defendant in Adversary Proceeding 19-00296                           Credito De Lares              Esq.                                 PO Box 19757                                            San Juan        PR           00919
                                                                     Correction Corporation of
PBA Top 20 Creditor                                                  America                       Attn: President or General Counsel   10 Burton Hills Boulevard                               Nashville       TN           37215
                                                                     Davidson Kempner Capital
Plaintiff in Adv. Proc. No. 19-00364                                 Management LP                                                      520 Madison Avenue               30th Floor             New York        NY           10022                      212-446-4000
                                                                     Departamento de Justicia de
Puerto Rico Department of Justice                                    Puerto Rico                                                        Apartado 9020192                                        San Juan        PR           00902-0192                 787-721-2900

Federal Agency                                                       Department of Defense (DOD)     Attn: Lloyd J. Austin III          1400 Defense Pentagon                                   Washington      DC           20301-1400
                                                                                                                                        1000 Independence Ave.,
Federal Agency                                                       Department of Energy (DOE)     Attn: Jennifer M. Granholm          SW                                                      Washington      DC           20585
                                                                     Department of Homeland                                             Secretary of Homeland
Federal Agency                                                       Security (DHS)                 Attn: Alejandro Mayorkas            Security                                                Washington      DC           20528-0075
                                                                     Department of Housing and
Federal Agency                                                       Urban Development (HUD)        Attn: Marcia L. Fudge               451 7th Street., SW                                     Washington      DC           20410
                                                                     Department of Human and
Federal Agency                                                       Health Services                Attn: Xavier Becerra                200 Independence Ave, SW                                Washington      DC           20201
                                                                     Department of the Interior
Federal Agency                                                       (DOI)                          Attn: Deb Haaland                   1849 C St., NW                                          Washington      DC           20240
                                                                     Department of Transportation
Federal Agency                                                       (DOT)                          Attn: Pete Buttigieg                1200 New Jersey Ave., SE                                Washington      DC           20590
                                                                     Department of Veterans Affairs
Federal Agency                                                       (VA)                           Attn: Denis Richard McDonough       810 Vermont Ave., NW                                    Washington      DC           20420
                                                                     Federal Communications
Federal Agency                                                       Commission (FCC)               Attn: Jessica Rosenworcel           45 L Street NE                                          Washington      DC           20554
                                                                     Federal Emergency
Federal Agency                                                       Management Agency (FEMA) Attn: Deanne Criswell                     500 C St., SW                                           Washington      DC           20472
                                                                                                                                        55 West 46th Street, 29th
Defendant in Adversary Proceeding 19-00296                           Fir Tree Partners                                                  Floor                                                   New York        NY           10036

Defendant in Adversary Proceeding 19-00296                           FPA Select Drawdown Fund L.P.                                      250 West 55th Street                                    New York        NY           10019

PBA Top 20 Creditor                                                  G RG Engineering S E        Attn: President or General Counsel Urb. Belisa 1515 Calle Bori                                 San Juan        PR           00927                      787-757-8033
                                                                     Goldentree Asset Management
Defendant in Adversary Proceeding 19-00296                           LP                                                             300 Park Avenue, 20th Floor                                 New York        NY           10022

Ralph A. Kreil-Rivera, President of the Governing Board of the Puerto Governing Board of the Puerto
Rico Electric Power Authority                                         Rico Electric Power Authority Ralph A. Kreil-Rivera, President    1110 Ponce de Leon Ave.                                 San Juan        PR           00907

Integrand Assurance Company                                          Integrand Assurance Company                                        PO Box 70128                                            San Juan        PR           00936-8128                 787-781-0707

Defendant in Adversary Proceeding 19-00296                           Ismael Vincenty Perez                                              Apt 6105 350 Via Aventura                               Trujillo Alto   PR           00976
Counsel to PFZ Properties, Inc.                                      Jack Katz                                                          ESJ Towers                       6165 Isla Verde Ave    Carolina        PR           00979-5729

                                                                     Jaime B. Fuster Estate,
                                                                     Comprised By Maria J.
                                                                     Zalduondo Viera and Jaime and
Defendant in Adversary Proceeding 19-00296                           Maria L. Fuster Zalduondo                                          PO Box 363101                                           San Juan        PR           00936




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                                                                                                                                                                       Edificio Bernardo
                                                                                                                                                                       Torres, Sector La
Jaime Rodríguez Avilés                                            Jaime Rodríguez Avilés                                                128 Apartamento 201            Trocha                  Yauco          PR           00698                     787-647-4915
                                                                  Junta de Síndicos del Sistema
The Board of Trustees of the Puerto Rico Electric Power Authority de Retiro de los Empleados de
Employees’ Retirement System, Juan Carlos Adrover, Sammy Ramírez la Autoridad de Energía                                                                                                                                                             787-521-4747,
and Alvin Román                                                   Eléctrica                           Sistema de Retiro AEE             PO Box 13978                                           San Juan       PR           00908-3978                877-454-4747 787-521-4745
                                                                                                      Attn: Jose A. Crespo Gonzalez,
Counsel to Kanoso Auto Sales Inc.                                     Kanoso Auto Sales Inc.          President                         PO Box 1446                                            San German     PR           00683                     787-538-3468
                                                                      Liberty Cablevision of Puerto
Interested Party                                                      Rico, LLC                     Attn: Alexandra Verdiales           PO Box 192296                                          San Juan       PR           00919-2296                787-657-3050 787-355-9681
Wayne Stensby as Chief Executive Director and President of LUMA                                     Wayne Stensby as Chief Executive
Energy ServCo, LLC                                                    LUMA Energy ServCo, LLC       Director and President              644 Fernández Juncos Ave.      Suite 301               San Juan       PR           00907
                                                                      Marichal, Hernandez, Santiago Attn: Rafael M. Santiago-Rosa &     Triple S Plaza, 1510 F.D.
Counsel to Cooperativa A/C, et.al                                     & Juarbe, LLC                 Vanessa Medina-Romero               Roosevelt Ave.                 9th Floor, Suite 9 B1   Guaynabo       PR           00968                     787-753-1565 787-763-1704
Counsel to Steve Schoenberg IRA, Steve and Sharon Schoenberg,
Alyssa Marie Schoenberg Grantor Trust, and SFT Holdings LP            McNamee Lochner P.C.            Attn: General Counsel             20 Corporate Woods Blvd  Ste 4                         Albany         NY           12211-2396                518-447-3200
Counsel to Metro Pavia Health System                                  Metro Pavia Health System       Attn: Zarel J Soto Acaba          PO Box 3180                                            Carolina       PR           00984                     787-625-8763 787-625-8543
                                                                      Muniz Burgos Contractors,                                         Condominio Parque De Las 680 Calle Cesar
PBA Top 20 Creditor                                                   Corp.                          Attn: President or General Counsel Fuentes PH204            Gonzalez                      San Juan       PR           00918-3912                787-287-0212
                                                                                                                                        100 Quannapowitt Parkway
N. Harris Computer Corporation                                        N. Harris Computer Corporation Attn: President or General Counsel Suite 405                                              Wakefield      MA           01880                     781-557-3000
Defendant in Adversary Proceeding 19-00296                            Oppenheimerfunds Inc.                                             350 Linden Oaks                                        Rochester      NY           14625
Counsel to Pablo Del Valle Rivera and María A. Martínez, Tenants in
Common and Fideicomiso Del Valle Martinez II                          Pablo Del Valle Rivera                                            PO Box 2319                                            Toa Baja       PR           00951-2319
                                                                      Puerto Rico Electric Power
Debtors                                                               Authority                       Attn: Office Of The General Counsel PO Box 364267                                        San Juan       PR           00936-4267

Omar Marrero-Díaz as Executive Director of the Puerto Rico Fiscal     Puerto Rico Fiscal Agency and   Omar Marrero-Díaz as Executive    Government Center Roberto De Diego Ave. Stop
Agency and Financial Advisory Authority                               Financial Advisory Authority    Director                          Sánchez Vilella (Minillas) 22                          San Juan       PR           00907
Members of Creditor's Committee                                       Puerto Rico Hospital Supply                                       Call Box 158                                           Carolina       PR           00986-0158
                                                                      Puerto Rico Industrial
Puerto Rico Industrial Development Company                            Development Company             Attn: Gabriel Maldonado           PO Box 362350                                          San Juan       PR           00936-2350                787-758-4747 787-754-7131

Fermín Fontanés-Gómez, as Executive Director of the Puerto Rico       Puerto Rico Public Private      Fermín Fontanés-Gómez, as         Government Center Roberto De Diego Ave. Stop
Public Private Partnership Authority                                  Partnership Authority           Executive Director                Sánchez Vilella (Minillas) 22                          San Juan       PR           00907

PBA Top 20 Creditor                                                   Quintero Construction S E        Attn: President or General Counsel Carr 734 Km 0.5 Bo Arenas                          Cidra            PR           00739                     787-739-6040
Defendant in Adversary Proceeding 19-00296                            Reinaldo Vincenty Perez                                              917 Calle Isaura Arnau                            San Juan         PR           00924
                                                                                                       Attn: Marylin Del Valle, General
                                                                       Reliable Equipment              Manager, Reliable Equipment
Reliable Equipment Corporation                                         Corporation                     Corporation                         PO Box 2316                                       Toa Baja         PR           00951-2316
                                                                       Santander Asset Management,                                         GAM Tower, 2nd Floor, 2
Defendant in Adversary Proceeding 19-00296                             LLC                                                                 Tabonuco Street                                   Guaynabo         PR           06968
                                                                       Secretary of Justice, Hon.
Hon. Pedro R. Pierluisi-Urrutia through the Secretary of Justice, Hon. Domingo Emmanuelli-
Domingo Emmanuelli-Hernandez                                           Hernandez                       Hon. Pedro R. Pierluisi-Urrutia     Calle Olimpo, Esq. Axtmayer Pda. 11, Miramar      San Juan         PR           00907
                                                                       Small Business Administration
Federal Agency                                                         (SBA)                           Attn: Dilawar Syed                  409 3rd St., SW                                   Washington       DC           20416
                                                                                                                                                                       Suite 300, San Martin
SOMOS, Inc.                                                            SOMOS, Inc.                                                         1605 Ponce De Leon Avenue Bldg.                   San Juan         PR           00909
                                                                       Sucesion Francisco Xavier
Defendant in Adversary Proceeding 19-00296                             Gonzalez Goenaga                                                    PO Box 364643                                     San Juan         PR           00936
                                                                       The American Federation of
Members of Creditor's Committee                                        Teachers (AFT)                  Attn: Mark Richard                  555 New Jersey Ave., NW     11th Floor            Washington       DC           20001
                                                                       The Commonwealth of Puerto
Debtors                                                                Rico                            Office of the Governor              La Fortaleza                63 Calle Fortaleza    San Juan         PR           00901
                                                                       Unión de Médicos de la
                                                                       Corporación del Fondo del
Unión de Médicos de la Corporación del Fondo del Seguro del Estado Seguro del Estado                                                       PO Box 70344, CMM33                               San Juan         PR           00936-8344
                                                                                                                                                                       40 Camino de la
Members of Creditor's Committee                                        Unitech Engineering             Attn: Ramón Ortiz Carro             Urb Sabanera                Cascada               Cidra            PR           00739
Federal Agency                                                         US Army Corps of Engineers      Attn: Scott A. Spellmon             441 G St., NW                                     Washington       DC           20548
                                                                       US Attorney for the District of Attn: Rosa E. Rodriguez-Velez, U.S.                             350 Carlos Chardón
Office of the United States Attorney for the District of Puerto Rico   Puerto Rico                     Attorney                            Torre Chardón, Suite 1201 Street                  San Juan         PR           00918                     787-766-5656 787-771-4043
                                                                                                                                           1400 Independence Ave.,
Federal Agency                                                         US Department of Agriculture Attn: Thomas J. Vilsack                SW                                                Washington       DC           20250

Federal Agency                                                        US Department of Commerce       Attn: Gina M. Raimondo            1401 Constitution Ave., NW                             Washington     DC           20230




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                                                                     US Department of Education
Federal Agency                                                       (ED)                           Attn: Miguel Cardona    400 Maryland Ave., SW                                 Washington    DC           20202

Federal Agency                                                       US Department of Justice (DOJ) Attn: Merrick Garland   950 Pennsylvania Ave., NW                             Washington    DC           20530

Federal Agency                                                       US Department of Labor (DOL) Attn: Martin J. Walsh     200 Constitution Ave NW                               Washington    DC           20210

Defendants in Adversary Proceeding 19-00296: Whitebox Advisors
LLC, Whitebox Asymmetric Partners, LP as Transferee of Syncora
Guarantee Inc., Whitebox Caja Blance Fund, LP as Transferee of
Syncora Guarantee Inc., Whitebox GT Fund, LP as Transferee of
Syncora Guarantee Inc., Whitebox Multi-Strategy Partners, LP as
Transferee of Syncora Guarantee Inc., and Pandora Select Partners, LP                                                       3033 Excelsior Blvd., Suite
as Transferee of Syncora Guarantee Inc                                Whitebox Advisors, LLC        Attn: Scott Specken     300                                                   Minneapolis   MN           55416




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